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                             Exhibit A
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13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
      UNITED STATES OF AMERICA,               No.
15
                 Plaintiff,
16                                            DEFERRED PROSECUTION
                       V.                     AGREEMENT
17
      GILBERT CHAGOURY,
18
                 Defendant.
19

20

21    I.    INTRODUCTION

22          1.    This Deferred Prosecution Agreement (the "DPA") is entered

23    into between the United States Attorney's Office for the Central

24    District of California ("USAO") and defendant Gilbert Chagoury

25    ("defendant Chagoury").       This DPA is entered into only on behalf of

26    the USAO and cannot bind any other federal, state, local or foreign

27    prosecuting, enforcement, administrative, or regulatory authorities.

28    The USAO has also disclosed in writing to defendant Chagoury's
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     Beginning in or around June 2012 and continuing through in

or around March 2016, GILBERT CHAGOURY (“CHAGOURY”), with the

assistance of Toufic Baaklini, Joseph Arsan, Individual H, and

others, provided approximately $180,000 to individuals in the

United States that was used to make donations to candidates in

United States elections.      CHAGOURY knew these funds were used to

make contributions to these candidates and, as a result, he

violated United States laws by (i) causing federal election

campaign contributions exceeding $25,000 to be made in a single

year as a foreign national, in violation of 52 U.S.C.

§§ 30109(d)(1)(A), 30121(a)(1)(A); and (iii) causing federal

election campaign contributions to be made in the name of

another (conduit contributions), in violation of 52 U.S.C.

§§ 30109(d)(1)(A), 30122.

     At all times relevant to this factual statement, CHAGOURY

was a “foreign national” within the meaning of 52 U.S.C.

§ 30121(b) and was therefore prohibited from making donations

and contributions directly or indirectly in support of any

candidate for elective office in the United States.

     In the summer of 2012, CHAGOURY agreed to use $100,000 of

his money to contribute through other individuals to a

fundraising committee of a then-Presidential candidate (the

“Candidate A Fund”).     CHAGOURY discussed and agreed with

Individual H that Individual H would arrange to have a total of


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$100,000 contributed to the Campaign A Fund and that CHAGOURY

would reimburse the $100,000 contributed to the Campaign A Fund.

Individual H made a $45,000 contribution to the Campaign A Fund

on September 4, 2012, and a $5,000 contribution to the Campaign

A Fund on September 6, 2012.       CHAGOURY reimbursed Individual H

$50,000 in October 2012.      Individual H also recruited Individual

I to make a contribution to the Campaign A Fund.          Individual I

arranged for a $50,000 contribution to be made to the Campaign A

Fund on September 4, 2012, and CHAGOURY reimbursed Individual I

in or around September 2012.

     In August 2014, CHAGOURY met with Individual H and CHAGOURY

expressed to Individual H his interest in contributing to U.S.

politicians who share a common cause with CHAGOURY.           Individual

H suggested that CHAGOURY contribute to U.S. politicians from

less-populous states because the contribution would be more

noticeable to the politician and thereby would promote increased

donor access to the politician.          CHAGOURY then directed

Individual H to contribute $20,000 to such a politician and

agreed to reimburse the $20,000 in political contributions.

Individual H arranged for multiple individuals to contribute to

the re-election campaign of a then-U.S. Representative

(“Candidate B”) in and around August 2014.         On or around

September 25, 2014, CHAGOURY, with the assistance of Arsan,

directed that a wire transfer in the amount of $20,000 be made


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to Individual H and falsely indicated on the wire information

form that the funds were for an “engagement gift,” when CHAGOURY

knew that the funds were sent to reimburse Individual H for

Individual H and others making political contributions to

Candidate B.

     In September 2014, CHAGOURY agreed with Individual H to

have Individual H contribute $30,000 to the fundraising

committee for a then-U.S. Representative (the “Candidate C

Fund”) and CHAGOURY agreed to reimburse Individual H the $30,000

in political contributions to the Candidate C Fund.           CHAGOURY

met with Individual H at a conference in Washington, D.C. in

September 2014, and suggested to Individual H that Individual H

(i) host a political fundraiser for Candidate C; and (ii) to

contribute $30,000 to the Candidate C Fund, which CHAGOURY

stated he would reimburse to Individual H.         On September 28,

2014, Individual H contributed $30,000 to the Candidate C Fund.

On October 21, 2014, CHAGOURY, with the assistance with Arsan,

wired $30,000 to Individual H and falsely indicated on the wire

information form that the funds were for a “wedding gift,” when

CHAGOURY knew that the funds were sent to reimburse Individual H

for making a political contribution to the Candidate C Fund.

     In January 2016, CHAGOURY agreed with Individual H to have

Individual H arrange for $30,000 of CHAGOURY’s money contributed

through other individuals to the re-election campaign of a U.S.


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Representative (“Candidate D”).          CHAGOURY arranged for $30,000

to be delivered to Baaklini, which Baaklini understood would be

used to fund conduit campaign donations.         Baaklini then provided

the $30,000 in cash to Individual H in order to contribute the

money to Candidate D’s campaign.         Baaklini provided the $30,000

in cash from CHAGOURY to Individual H at a restaurant in Los

Angeles, California in January 2016.         After receiving the money

from CHAGOURY, Individual H, as well as other individuals

Individual H recruited, made campaign contributions to Candidate

D’s campaign fund in February 2016 exceeding $30,000.

     During the course of events described above, CHAGOURY knew

that it was illegal both for him to contribute to candidates for

elective office in the U.S. and to make contributions in the

name of other individuals.




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